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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK


 ILKB, LLC,                                                      Civil Action No.: 1:20-cv-03850

                                        Plaintiff,                STIPULATION AND ORDER
                                                                   OF DISMISSAL WITHOUT
        vs                                                               PREJUDICE

 CAMAC PARTNERS, LLC and KICKHOUSE
 FITNESS, LLC, JESSICA YARMEY, ERIC
 SHAHINIAN and DANIEL R. LANIER,

                                        Defendants.


                                          STIPULATION

        IT IS HEREBY STIPULATED AND AGREED by and between the Parties, that the above-

 entitled action against Defendants shall be and hereby is dismissed without prejudice and without

 costs, or disbursements, or attorneys' fees to any party.

  Date: September 22, 2020                                   Date: September 22, 2020

  GORDON REES SCULLY MANSUKHANI, LLP                         BALLARD SPAHR LLP

  /s/ Peter G. Siachos, Esq.                                 /s / Bradley R. Gershel, Esq.
  Peter G. Siachos, Esq.                                     Bradley R. Gershel, Esq.
  Matthew P. Gallo, Esq.                                     1675 Broadway, 19th Floor
  One Battery Park Plaza, 28th Floor                         New York, New York 10019
  New York, NY 10004                                         gershelb@ballardspahr.com
  psiachos@grsm.com                                          Counsel for Defendants
  mgallo@grsm.com
  Counsel for Plaintiff
                                               ORDER

        Based on the stipulation of the parties, by and through their attorneys of record, it is hereby

 ORDERED that this case is DISMISSED WITHOUT PREJUDICE and without fees or costs to

 any party.

        Dated this ____ day of                         , 2020.


                                _________________________________________
                                United States District Court Judge
